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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

HERMELINDO ESCOBAR MONTIEL, et al.,

Plaintiff, 17 Civ. 5550 (PAE)
-\-
ORDER
SHAMROCK SALOON II LLC, et al.,

Defendants.

 

 

PAUL A. ENGELMAYER, District Judge:
In light of the extension of time to complete the deposition of John Sullivan, Dkt. 97, the
case management conference presently scheduled for October 26, 2020 at 10:30 a.m. is

rescheduled to November 16, 2020 at 10:30 a.m.

SO ORDERED.

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~ PAUL A. ENGELMAYER/
United States District Judge

 

Dated: October 2, 2020
New York, New York
